
The following order has been entered on the motion filed on the 17th of May 2017 by State of NC for Temporary Stay:
"Motion Dissolved by order of the Court in conference, this the 1st of November 2017."
Upon consideration of the petition filed by State of NC on the 17th of May 2017 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 1st of November 2017."
Upon consideration of the Petition for Discretionary Review filed by the State on the 6th day of June, 2017, the Court allows the State's Petition For Discretionary Review for the limited purpose of remanding this case to the Court of Appeals for reconsideration in light of our decision in State v. Brice, --- N.C. ----, --- S.E.2d ----, 2017 WL 5017127 (3 November 2017) :
*488"Special Order by order of the Court in Conference, this the 1st day of November 2017."
